                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA                           )
                Plaintiff,                         )
                                                   )
              v.                                   )       CASE NO. DNCW3:97CR294
                                                   )       (Financial Litigation Unit)
JEFFREY M. GULLER,                                 )
                Defendant,                         )
and                                                )
                                                   )
FREDERICK R. STANN, ESQ.,                          )
                Garnishee.                         )

                DISMISSAL OF A CONTINUING WRIT OF GARNISHMENT

       Upon motion of the United States and for good cause shown, it is ORDERED that the

Continuing Writ of Garnishment as to Frederick R. Stann, Esq. filed in this case on November 20,

2008, against the defendant Jeffrey B. Guller is DISMISSED.

       SO ORDERED.                             Signed: March 22, 2010




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